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                                                                           8                                 UNITED STATES DISTRICT COURT
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                           9                             NORTHERN DISTRICT OF CALIFORNIA

                                                                          10   IN RE: CATHODE RAY TUBE (CRT)                           Master File No. M:07-5994-SC
                                                                               ANTITRUST LITIGATION                                    MDL No. 1917
                                                                          11
                                                                               This Document Relates to                                Case No. 3:11-cv-05513-SC
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                                                           M INNEAPOLIS




                                                                               Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,
                                                                          13   No. 11-cv-05513;
                                                                                                                                      STIPULATION AND [PROPOSED]
                                                                          14   Target Corp., et al. v. Chunghwa Picture Tubes,        ORDER EXTENDING THE
                                                                               Ltd., et al., No. 11-cv-05514;                         DEADLINE TO FILE MOTION TO
                                                                          15                                                          COMPEL CHUNGHWA TO RESPOND
                                                                               Interbond Corporation of America v. Hitachi, et        TO DIRECT ACTION PLAINTIFFS’
                                                                          16   al., No. 11-cv-06275;                                  FIRST SET OF REQUESTS FOR
                                                                                                                                      ADMISSION
                                                                          17   Office Depot, Inc. v. Hitachi, Ltd., et al., No.
                                                                               11-cv-06276;
                                                                          18
                                                                               CompuCom Systems, Inc. v. Hitachi, Ltd. et al.,
                                                                          19   No. 11-cv-06396;
                                                                          20   P.C. Richard & Son Long Island Corporation, et
                                                                               al. v. Hitachi, Ltd., et al., No. 12-cv-02648;
                                                                          21
                                                                               Schultze Agency Services, LLC v. Hitachi, Ltd.,
                                                                          22   et al., No. 12-cv-02649;
                                                                          23   ViewSonic Corporation, v. Chunghwa Picture
                                                                               Tubes, Ltd., et al., 3:14cv-02510;
                                                                          24

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                                                                          26            This Stipulation and Proposed Order Extending the Deadline to File Motion to Compel

                                                                          27   Chunghwa to Respond to certain Direct Action Plaintiffs’ First Set of Requests for Admission

                                                                          28   between certain Direct Action Plaintiffs (“DAPs”), on the one hand, and defendants Chunghwa
                                                                                                                                           STIPULATION EXTENDING DEADLINE TO FILE
                                                                               60855311.1                                               MOTION TO COMPEL CHUNGHWA TO RESPOND TO
                                                                                                                                          DAPS’ FIRST SET OF REQUESTS FOR ADMISSION
                                                                                 Case 3:07-cv-05944-JST Document 2934 Filed 10/22/14 Page 2 of 4



                                                                           1   Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia), (collectively, “CPT”), on the
                                                                           2   other hand, is made with respect to the following facts and recitals:
                                                                           3            WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of
                                                                           4   fact discovery for September 5, 2014. See Dkt. No. 2459;
                                                                           5            WHEREAS, the deadline to file any motion to compel after the discover cut-off is
                                                                           6   September 12, 2014 (L.R. 37-3);
                                                                           7            WHEREAS, on August 1, 2014, the DAPs served their First Set of Requests for
                                                                           8   Admission on CPT;
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                           9            WHEREAS, on September 5, 2014, CPT served its Responses to DAP’s First Set of
                                                                          10   Requests for Admission and stated objections on various grounds;
                                                                          11            WHEREAS, the parties continue to meet and confer to narrow their differences;
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                                                                          12            WHEREAS, the DAPs and CPT have conferred by and through their counsel and, subject
                                                           M INNEAPOLIS




                                                                          13   to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
                                                                          14            1.     The undersigned parties agree to extend the deadline for the DAPs to file a motion
                                                                          15                   to compel relating to the DAP’s First Set of Requests for Admission, to the extent
                                                                          16                   one is deemed necessary by DAPs, to October 2, 2014.
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                                                                          18   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                                                                      October 22, 2014
                                                                               Dated: _________________                          _____________________________________
                                                                                                                                 Hon. Samuel Conti AP
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                                                                          21                                                     United States District Court Judge
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                                                                                                                                                           Judge S
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                                                                                                                                           STIPULATION EXTENDING DEADLINE TO FILE
                                                                               60855311.1                                     -2-       MOTION TO COMPEL CHUNGHWA TO RESPOND TO
                                                                                                                                          DAPS’ FIRST SET OF REQUESTS FOR ADMISSION
                                                                                 Case 3:07-cv-05944-JST Document 2934 Filed 10/22/14 Page 3 of 4



                                                                           1                                  ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
                                                                               DATED: September 25, 2014
                                                                           2
                                                                                                              By: /s/ Laura E. Nelson_______________
                                                                           3                                        Roman M. Silberfeld
                                                                                                                    David Martinez
                                                                           4                                        Laura E. Nelson
                                                                           5                                  Attorneys for Plaintiffs Best Buy Co., Inc.; Best Buy
                                                                                                              Purchasing LLC; Best Buy Enterprise Services, Inc.;
                                                                           6                                  Best Buy Stores, L.P.; BESTBUY.COM, LLC; Magnolia
                                                                                                              Hi-Fi, LLC
                                                                           7
                                                                                                                /s/ Philip J. Iovieno
                                                                           8
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                                                                Philip J. Iovieno
                                                                                                                Anne M. Nardacci
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                                                                          22                                    Liaison Counsel for Direct Action and Attorneys for
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                                                                          23                                    Technologies, Corp., Office Depot, Inc., Interbond
                                                                                                                Corporation of America, P.C. Richard & Son Long Island
                                                                          24                                    Corporation, MARTA Cooperative of America, Inc., ABC
                                                                                                                Appliance, Inc., Schultze Agency Services LLC on behalf
                                                                          25                                    of Tweeter Opco, LLC and Tweeter Newco, LLC
                                                                                                                Liaison Counsel for Direct Action Plaintiffs
                                                                          26

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                                                                                                                                 STIPULATION EXTENDING DEADLINE TO FILE
                                                                               60855311.1                           -3-       MOTION TO COMPEL CHUNGHWA TO RESPOND TO
                                                                                                                                DAPS’ FIRST SET OF REQUESTS FOR ADMISSION
                                                                                 Case 3:07-cv-05944-JST Document 2934 Filed 10/22/14 Page 4 of 4



                                                                           1   Dated: September 25, 2014   By: /s/ Rachel Brass
                                                                                                               Joel S. Sanders
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                                                                                                               Christine A. Fujita
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                                                                                                               Fax: 415-393-8206
                                                                           6                                   Counsel for Defendants Chunghwa Picture Tubes, Ltd.
                                                                                                               and Chunghwa Picture Tubes (Malaysia)
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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




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                                                                                                                                STIPULATION EXTENDING DEADLINE TO FILE
                                                                               60855311.1                           -4-      MOTION TO COMPEL CHUNGHWA TO RESPOND TO
                                                                                                                               DAPS’ FIRST SET OF REQUESTS FOR ADMISSION
